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                              UNITED STATES DISTRICT COURT
9
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                No. CV 19-1327-DSF (PLAx)
11
                 Plaintiff,
12
                       v.                      CONSENT JUDGMENT OF FORFEITURE
13
      UP TO $28,174,145.52 IN                  [This Consent Judgment is case-
14    HUNTINGTON NATIONAL BANK ESCROW
      ACCOUNT NUMBER ‘7196; ET AL.,            dispositive]
15
16                Defendants.

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20          I.    INTRODUCTION
21          1.    Plaintiff United States of America (“United States” or “the
22    government”) and Red Granite Investment Holdings, LLC (the
23    “Claimant”) (collectively, the “Parties”), have made a stipulated
24    request for the entry of this Consent Judgment (the “Stipulation”),
25    which is dispositive of this action.
26          2.    Similar (and related) stipulations were filed by the
27    government and the Claimant or related entities in the following
28    actions (collectively the “Other Actions”):
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1           1. United States v. Real Property Located in New York, New York,
2                No 16-cv-05371-DSF-PLA (C.D. Cal.). The claimant in this
3                action is Park Laurel Acquisition LLC;
4           2. United States v. Real Property Located in Beverly Hills,
5                California, No 16-cv-05377-DSF-PLA (C.D. Cal.). The claimant
6                in this action is 912 North Hillcrest Road (BH), LLC;
7           3. United States v. Real Property in London, United Kingdom,
8                owned by Qentas Holdings, No 16-cv-05380-DSF-PLA (C.D. Cal.).
9                The claimant in this action is Qentas Holdings Limited.
10          4. United States of America v. One Metropolis Poster, No 17-cv-
11               04440-DSF-PLA (C.D. Cal.). The claimants in this action are
12               Riza Shahriz Bin Abdul Aziz and Red Granite Pictures, Inc.
13          5. United States of America v. Up To $28,174,145.52 In
14               Huntington National Bank Escrow Account Number ’7196; et al.,
15               No. 19-cv-1327-DSF-PLA.    The claimant in this action is Red
16               Granite Investment Holdings, LLC.
17          3.     Nothing in the Stipulation or this Consent Judgment is
18    intended to be or constitutes an admission of fault, wrongdoing,
19    liability, or guilt on the part of the Claimant or its beneficial
20    owner, Riza Shahriz Bin Abdul Aziz, nor can this Consent Judgment or
21    the Parties’ underlying Stipulation be admissible against Mr. Aziz,
22    the Claimant, or any of the claimants in the Other Actions in any
23    proceeding as evidence of any of the allegations set out in the
24    operative complaints in this case or the Other Actions.            The U.S.
25    Attorney’s Office for the Central District of California and the
26    United States Department of Justice, Criminal Division, shall be
27    bound by the terms of this Consent Judgment and the doctrines of res
28    judicata and collateral estoppel.        The entry of this Consent Judgment



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1     shall resolve all of the government’s civil, criminal, and
2     administrative asset forfeiture actions or proceedings relating to
3     the defendant Up to $28,174,145.52 in Huntington National Bank Escrow
4     Account Number ‘7196 (the “Defendant Asset”) in this and the Other
5     Actions.    Nothing in the Stipulation or this Consent Judgment
6     constitutes a waiver or release by the government of criminal claims,
7     except for the asset forfeiture claims related to the Defendant
8     Asset.
9           4.    This action was commenced on February 22, 2019 against the
10    Defendant Asset.
11          II.   FINDINGS
12          The Court, having considered the Stipulation of the Parties, and
13    good cause appearing therefor, HEREBY ORDERS, ADJUDGES AND DECREES:
14                                      Jurisdiction
15          5.    For purposes of this Consent Judgment, this Court has
16    jurisdiction over the Parties and this action.          The government gave
17    notice of the action as required by Rule G of the Supplemental Rules
18    for Admiralty and Maritime Claims and Asset Forfeiture Actions, and
19    the Local Rules of this Court.       Claimant filed a timely claim for the
20    Defendant Asset.     No other claims were filed, and the time for filing
21    claims has expired.       Entry of this Consent Judgment will resolve all
22    claims of Claimant with respect to the Defendant Asset and is
23    dispositive of this action.       If assumed to be true, the allegations
24    set out in the operative complaint are sufficient to establish a
25    basis for forfeiture of the Defendant Asset.          However, nothing
26    contained in the Stipulation or this Consent Judgment is intended or
27    should be interpreted as an admission of fault, guilt, liability
28    and/or any form of wrongdoing by Claimant.         Notwithstanding any other



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1     provision of the Stipulation or this Consent Judgment, the forfeiture
2     of the Defendant Asset does not constitute a fine, penalty, or
3     punitive damages.     All potential claimants to the Defendant Asset,
4     other than Claimant, are deemed to have admitted the allegations of
5     the Complaint for purposes of this action only.
6                                           Terms
7           6.    Upon entry of this Consent Judgment, all right, title and
8     interest of Claimant in the Defendant Asset shall be forfeited to the
9     United States, and no other right, title, or interest shall exist
10    therein, unless otherwise provided in this Consent Judgment,
11    provided, however, that (unless the parties agree otherwise in
12    writing) Claimant and the claimants in the Other Actions had the
13    right to withdraw from the Stipulation within 30 days of its filing
14    with the Court, by written notice filed on the docket in this and the
15    Other Cases.    In the event that this Consent Judgment is entered
16    prior to the expiration of that 30-day period, this Consent Judgment
17    shall not take effect until the date 30 calendar days from the filing
18    of the Stipulation.      In the event that Claimant exercises its right
19    to withdraw from the Stipulation, it shall be permitted to assert its
20    claims to the Defendant Asset and the defendant assets in the Other
21    Actions as if this Consent Judgment had never been entered, and as if
22    the Stipulation had never been entered in to.
23          7.    The government shall dispose of the Defendant Asset
24    according to law.
25          8.    It is the present intention of the Parties that the
26    Defendant Asset and the defendant assets in the Other Actions (or the
27    net proceeds of their disposition) shall, if appropriate and
28    authorized by law, be used for the benefit of the people of Malaysia



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1     after deduction of the government’s associated costs, consistent with
2     the government’s prior practice in related cases.
3                                     Released Funds
4           9.    The government shall release the total sum of USD
5     $215,000.00, without interest (the “Released Funds”), as described
6     below.
7           10.   The Released Funds shall be paid to one or more account(s)
8     as directed by Boies Schiller Flexner, LLP (“Boies Schiller”), who
9     shall provide all information required to facilitate the payment,
10    including personal identification information required by federal law
11    or regulation, and complete all required documents.           The payment of
12    the Released Funds shall be made to Boies Schiller no later than 60
13    days from the entry of this Consent Order.         The Released Funds shall
14    be drawn from a portion of the funds held in the United States
15    Marshals Service’s Seized Asset Deposit Fund (“SADF”), arrested and
16    held by the United States in connection with the Defendant Asset in
17    this action.
18          11.   The government shall not now nor in the future institute
19    any action against Boies Schiller, or seek the seizure, freezing,
20    return, forfeiture, or restraint of any kind of any of the Released
21    Funds, nor any interest earned on the Released Funds, for any acts or
22    omissions relating to the Released Funds preceding the date of its
23    receipt of the Released Funds.
24                                      Other Terms
25          12.   Claimant shall not contest or assist any other individual
26    or entity in contesting the forfeiture -- administrative, civil
27    judicial or criminal judicial -- of the Defendant Asset.
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1           13.   Should any dispute arise about the interpretation of or
2     compliance with the terms of the Stipulation or this Consent
3     Judgment, the Parties shall attempt in good faith to resolve any such
4     disputes. However, should the Parties be unable to resolve a dispute,
5     either Party may move the Court to resolve the dispute and to impose
6     any remedy this Court deems necessary to enforce the terms of this
7     Consent Judgment.
8           14.   Each of the Parties shall bear its own fees and costs in
9     connection with the seizure, retention, and forfeiture of the
10    Defendant Asset.
11          15.   Nothing in the Stipulation or this Consent Judgment is
12    intended to or does abrogate or alter the terms of the March 2018
13    consent judgment entered in case numbers 16-cv-5352-DSF-PLA (C.D.
14    Cal.) and 17-cv-4439-DSF-PLA (C.D. Cal.).         For the avoidance of
15    doubt, and without limitation, the provisions of that consent
16    judgment under the headings “Release of Property,” “Surrender of
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1     Rights,” “No Admission of Liability/No Tax Refund,” “Release of Civil
2     Claims,” “Hold Harmless,” “Third Parties Permitted to do Business”
3     and “Payments by Third Parties” shall remain in full force and
4     effect.
5           IT IS SO ORDERED.
6      DATED:    October 6, 2020
7
                                         Honorable Dale S. Fischer
8                                        UNITED STATES DISTRICT JUDGE
9
10    Presented by:

11    DEBORAH CONNOR
      Chief, MLARS
12
      NICOLA T. HANNA
13    United States Attorney
14
      /s/Jonathan Galatzan
15    JONATHAN GALATZAN
      Assistant United States Attorney
16    WOO S. LEE
      Deputy Chief, MLARS
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18    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
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